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                                                                                        '
                                                                                  STA!&S DISTRICT COURT
                                                                                 ERN ~TRICT OF PENNSYLVANIA
                                                                                                                                      19                    0 1 r"J
                                                                                                                                                          1 Iii  I
                                       '           -~'". •
                                              ......                           .DESIGNATION FOR.1\1
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff:                 1621
                                       -- - -
                                       --
                                             S. Glenside    Road, West Chester, PA 19380- - -
                                                 - --------- --- - -- - - -
Address of Defendant: -     - -     -    _9_n_e_N~t_ion_wi_9e_P_La~a_, C_o~_mb_us_O_H_4~2_!_5_ ---- -
Place of Accident, Incident or Transaction: _ _ _1~00 W~s!__Che~ter.£>i~e2-We~t~he~ter,£>_~ __



RELATED CASE, IF ANY:

Case Number                                                           Judge: _ _ _ _                                             Date Tenninated.

Civil cases are deemed related when Yes 1s answered to any of the following questions

      ls this case related to property included m an earher numbered suit pendmg or within one year                                 YesD                   No~
      previously terminated action in this court"

2.    Does this case mvolve the same issue of fact or grow out of the same transaction as a prior suit                              YesD                   No~
      pending or within one year previously terminated action m this court?

3     Does this case involve the vahdity or infnngement of a patent already in suit or any earher                                   YesO                   No~
      numbered case pendmg or within one year previously tennmated action of this court"

4      Is this case a second or successive habeas corpus, social secunty appeal, or pro se civil nghts                              YesD                   No~
       case filed by the same md1v1dual?

I certify that, to my knowledge, the within case                                      related to any case now pending or within one year previously tenninated action in
this court except as noted above
DATE        03/22/2019                                                                                                                               56396
                                                                               Attorney-at-Law I Pro Se Platnttjj                              Attorney ID # (tj applzcable)


CIVIL: (Place a ,/in one category only)

A.           Federal Question Cases:                                                                  Diversity Jurisdiction Cases:

0
0
0
0
      1
      2
       3.
      4.
             Indemnity Contract, Marme Contract, and All Other Contracts
             FELA
             Jones Act-Personal lniury
             Antitrust
                                                                                             @  0
                                                                                                      1.
                                                                                                      2
                                                                                                      3
                                                                                                      4.
                                                                                                            Insurance Contract and Other Contracts
                                                                                                            Airplane Personal Injury
                                                                                                            Assault, Defamation
                                                                                                            Manne Personal Injury
                                                                                                D
8
0
      6
       5

       7
             Patent
             Labor-Management Relations
             Civil Rights
                                                                                                D
                                                                                                D
                                                                                                      5
                                                                                                      6
                                                                                                      7
                                                                                                            Motor Vehicle Personal Injury
                                                                                                            Other Personal Injury (Please specify) _ _ _ _ _
                                                                                                            Products L1abihty
                                                                                                                                                                        _      __ _


0     8.     Habeas Corpus                                                                      D     8.    Products L1ab1hty - Asbestos
      9      Secunties Act(s) Cases                                                             0
8
0
      10
      11
             Soctal Secunty Review Cases
             All other Federal Question Cases
                                                                                                      9.    All other Diversity Cases
                                                                                                            (Please specify) _

             (Please specify) _                                   - - ·--
                                   -- --                     ·-



                                                                                ARBITRATION CERTIFICATION
                                                       (The effect of this certtficatlon ts to remove the case from eilg1bzltty for arbttratzon}

I,                                                           _ , counsel of record or pro se plamtiff, do hereby certify


     D       Pursuant to Local C!Vil Rule 53.2, § 3(c) (2), that to the best of my knowledge and behef, the damages recoverable in this civil action case
             exceed the sum of $150,000.00 exclusive of mterest and costs

     D       Rehef other than monetary damages is sought

                                                                                                                                                   MAR 22 2019
DATE
                                                                               Attorney-at-Law I Pro Se Plaintiff                              Attorney ID # (ij applicable)

NOTE A tnal de novo will be a tnal by iury only 1fthere has been comphance with F RC P 38

Cw 609 f5!20J8)
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                     IN THE UNITED STATES DISTRICT COURT FOR
                      THE EASTERN DISTRICT OF PENNSYLVANIA

BRENDAN SMITH, individually and on behalf              :
of a class of similarly situated persons               :
                                                       :
                       vs.                             :
                                                       :
NATIONWIDE MUTUAL INSURANCE                            :       NO:
COMPANY                                                :


                                    NOTICE OF REMOVAL

       Defendant Nationwide Mutual Insurance Company (“Nationwide”) hereby removes the

above-captioned case pending in the Court of Common Pleas, Philadelphia County, Pennsylvania,

to the United States District Court for the Eastern District of Pennsylvania. This Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 1332, 1441 and 1446. As grounds for

removal, Defendant Nationwide states as follows:

                                   PROCEDURAL HISTORY

       1.      On or about February 14, 2019, Plaintiff Brendan Smith filed this state court action

(the “Action”) by filing a complaint entitled Brendan Smith v. Nationwide Mutual Insurance

Company in the Court of Common Pleas in Philadelphia County, Pennsylvania, Case No.

190201323 (the “Complaint”).

       2.      The Complaint names as defendant Nationwide Mutual Insurance Company. The

Complaint alleges state law claims for declaratory relief and breach of contract. The Complaint

also purports to seek relief on behalf of a class of similarly situated individuals.

       3.      Defendant was served with the Complaint on or about February 20, 2019.
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